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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                                            No. 4:12CR00186-06-DPM

JUSTIN PENNOCK

                                              ORDER

       Before the Court is Defendant’s Motion For Detention Hearing. (Doc. No. 212.) The Bail

Reform Act expressly authorizes reopening a detention hearing when material information “that was

not known to the movant at the time of the hearing” comes to light. 18 U.S.C. § 3142(f). The

material information Mr. Pennock offers is that his trial has been postponed late into 2014 and, while

incarcerated, he has been drug free for a lengthy period of time.

       Mr. Pennock was specifically warned about the consequences of having his bond revoked -

one being held in jail awaiting trial for a very long time.     And Mr. Pennock was given every

opportunity to succeed, including a third party custodian and taxpayer funded inpatient drug

rehabilitation program. The Court even twice modified Mr. Pennock’s conditions. (Doc. Nos. 116,

123.) But Mr. Pennock chose to engage in illegal drug activity.

       The Court was required to revoke bond because Mr. Pennock violated his conditions of

pretrial release on multiple occasions; the Court concluded he was a danger to the community and

no condition or combination of conditions could assure the safety of the community. (Doc. No. 136.)

Therefore, the Motion is without merit and is DENIED.

       IT IS SO ORDERED this 25th day of November, 2013.



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                                               JOE J. VOLPE
                                               UNITED STATES MAGISTRATE JUDGE
